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                       United States District Court
                        District of Massachusetts



United States of America

v.
                                              Case No.: 15-cr-10148-LTS
Aaron Bloudson



      Defendant’s Status Report Regarding Supervised Release




      NOW COMES the defendant Aaron Bloudson and files this report

regarding Mr. Bloudson’s status on supervised release.

Procedural History

      Mr. Bloudson was one of the defendants in the Columbia Point Dawgs

cases. On January 21, 2016 he pled guilty to Count One (conspiracy to

distribute cocaine base, cocaine and heroin). On April 14, 2016, this Court

imposed a sentence of 18 months imprisonment, followed by supervised

release with special conditions (see ECF No. 189). One of the special

conditions was that Mr. Bloudson was to appear before this Court upon his

release from custody. Mr. Bloudson did appear at several status conferences,

however, due to his employment obligations, he had difficulty making it to

the conferences. At the last status conference, which was held on December

11, 2017, this Court ordered that counsel file a status report in six months,

and arrange a status conference at the end of supervision. Mr. Bloudson’s


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supervised release is currently scheduled to end on October 6, 2019.

Status of Supervised Release

         Defendant’s counsel spoke with Mr. Bloudson and his supervising

probation officer, Jessica Turkington, on June 8, 2018. Mr. Bloudson

continues to do well on supervised release. The only non-compliance issue

was taking non-prescribed pain medication (an oxycodone pill) for a toothache

in May, which Mr. Bloudson reported to Ms. Turkington (see Probation

Memo, ECF No. 433). Mr. Bloudson understands that this was a violation of

his conditions, and has addressed it with his probation officer. He has had no

positive urine screens. Mr. Bloudson has made an appointment with a

dentist, but is not able to get in until July. I advised him to go to the

emergency room if he experiences more pain, and will follow-up with him on

this.

         Mr. Bloudson is living in Bridgewater with his girlfriend, Krystyn, and

their young son. He also continues to have positive contact with his older two

sons, mostly on weekends, and pays child support. He remains employed at

SimpliSafe in Braintree. Because he is living in Bridgewater and working in

Braintree, he is not spending time in Boston, where the criminal activity

occurred.

         He is looking to buy a used car, and is driving rental cars in the

meantime. He has been stopped and questioned several times by law

enforcement, in what appears to be instances of “driving while black.” He is




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respectful during these interactions, and has reported the stops to his

probation officer.

        Mr. Bloudson has not been able to make any progress on obtaining his

G.E.D., mainly because he lacks time due to his work schedule and child care

responsibilities. He has discussed this with his probation officer, and she has

encouraged him to take classes and emphasized the importance of this, which

Mr. Bloudson acknowledges.

        In sum, Mr. Bloudson continues to make good progress on supervised

release. He is working with probation on his cognitions and social networks.

Aside from the one incident of taking non-prescribed pain medication for a

toothache, he has been in full compliance with the conditions of his release.



Respectfully submitted
AARON BLOUDSON
By his attorney,


/s/ MARK W.SHEA                                             Dated: June 10, 2018
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                                       Certificate of Service

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be
sent to those indicated as non registered participants on June 10, 2018.

                                                   /s/ Mark W. Shea
                                                   Mark W. Shea




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